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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )                CASE NO.      07-35M
                                 )
12         v.                    )
                                 )
13                               )                DETENTION ORDER
    XUAN VAN LAM,                )
14                               )
                Defendant.       )
15 ______________________________)
16 Offense charged:
17            Count I:      Conspiracy to Manufacture Marijuana, in violation of Title 21,
18                          U.S.C., Sections 841(a)(1), 841(b)(1)(A), and 846.
19   Date of Detention Hearing: January 26, 2007.
20            The Court, having conducted a contested detention hearing pursuant to Title 18
21   U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
22   hereafter set forth, finds that no condition or combination of conditions which the defendant
23   can meet will reasonably assure the appearance of the defendant as required and the safety
24   of any other person and the community. The Government was represented by Douglas
25   Whalley. The defendant was represented by Howard Phillips.
26


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 1      FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 2         (1)   The Court having reviewed the complaint for a probable cause
 3               determination on this defendant, finds that there is probable cause to
 4               believe the defendant committed the drug offense of conspiracy to
 5               manufacture marijuana for which the maximum penalty is in excess of
 6               ten years. There is therefore a rebuttable presumption against the
 7               defendant’s release based upon both dangerousness and flight risk, under
 8               Title 18 U.S.C. § 3142(e).
 9         (2)   Nothing in this record, however, satisfactorily rebuts the presumption
10               against release for several reasons. Under Title 18 § 3142 (g), the Court
11               considered the following:
12               (a)    The nature and circumstances of the offense. The alleged charge
13                      involves a narcotic drug and a conspiracy. It is alleged that
14                      numerous marijuana grow farms were being cultivated in as many
15                      as ten different houses. Additionally, these grow farms were
16                      inter-related and those arrested at the farms paid either rent or
17                      utilities at the location. The defendant is allegedly associated
18                      with the farm located at 14514 77th Avenue Court East, Puyallup,
19                      Washington.
20               (b)    The weight of the evidence. The warrant executed at the grow
21                      farm associated with this defendant is strong. Law enforcement
22                      found 623 plants of marijuana along with papers showing that the
23                      utilities were placed in the defendant’s name. Authorities also
24                      found $20,000 in U.S. currency believed to be proceeds from the
25                      illegal grow farm. The Defendant proffers that the $20,000 is his
26                      savings from employment in Texas. Absent documentation, the

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 1                         Court was unpersuaded.
 2                  (c)    The history and characteristics of the defendant show that he has
 3                         minimal ties to this district, having recently moved to
 4                         Washington. Moreover, he appears only to be in this state
 5                         because of his role in the instant offense.
 6                  (d)    Risk of flight persists because Defendant has so few ties to this
 7                         district yet access to large amounts of cash. Both are inherent in
 8                         the illegal movement and manufacture of marijuana.
 9   Based upon the foregoing information, there is no condition or combination of
10   conditions that would reasonably assure future Court appearances and/or the safety of
11   other persons or the community.
12
13           It is therefore ORDERED:
14           (l)    The defendant shall be detained pending trial and committed to the
15                  custody of the Attorney General for confinement in a correction facility
16                  separate, to the extent practicable, from persons awaiting or serving
17                  sentences or being held in custody pending appeal;
18           (2)    The defendant shall be afforded reasonable opportunity for private
19                  consultation with counsel;
20           (3)    On order of a court of the United States or on request of an attorney for
21                  the Government, the person in charge of the corrections facility in which
22                  the defendant is confined shall deliver the defendant to a United States
23                  Marshal for the purpose of an appearance in connection with a court
24                  proceeding; and
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 1         (4)   The clerk shall direct copies of this order to counsel for the United
 2               States, to counsel for the defendant, to the United States Marshal, and to
 3               the United States Pretrial Services Officer.
 4         DATED this 29th day of January, 2007.


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                                                    MONICA J. BENTON
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                                                    United States Magistrate Judge
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